                                                                                  DISTRICT OF OREGON
                                                                                       FILED
                                                                                      August 09, 2023
                                                                                Clerk, U.S. Bankruptcy Court



 Below is an order of the court.




                                                            _______________________________________
                                                                      TERESA H. PEARSON
                                                                      U.S. Bankruptcy Judge




                         UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF OREGON

In re
                                                  Case No.  22-31873-thp11
 Blue Moon Property Group, LLC                      Amended

Debtor                                            ORDER ON CLAIM OBJECTION

Based on the claim objection (docket #_____),
                                      63      IT IS ORDERED that the claim of
_____________________________________________,
Lake Oswego Corporation                             proof of claim no.______,
                                                                      2       be
disallowed or allowed as follows:

   Disallowed in full.

   Disallowed for any distribution.

   Disallowed for future       distribution     greater   than     the   amount      already    paid
   ($____________).

   Allowed as (fill in each blank even if amount is $0)
        a secured claim for $ 0.00                         ,

        a priority unsecured claim for $ 0.00                       , and

        a nonpriority unsecured claim for $ 90,000.00                       .

   The amount of the arrearage is $                            .

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763.5 (12/1/2022)

                    Case 22-31873-thp11         Doc 140     Filed 08/09/23
